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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff(s),                     CASE NO. 07-20393
v.
                                               HONORABLE AVERN COHN
D-4, RIMA ABBOUD,

             Defendant(s).
                                        /


                    ORDER DENYING SECOND MOTION TO
                 AMEND CONDITIONS OF SUPERVISED RELEASE

      Before the Court is defendant’s Second Motion to Amend Conditions of Supervised

Release. The Court being fully advised in the premises,

      IT IS HEREBY ORDERED that the motion is DENIED.



Dated: July 26, 2011                        s/Avern Cohn
                                            AVERN COHN
                                            UNITED STATES DISTRICT JUDGE



I hereby certify that a copy of the foregoing document was mailed to counsel of record on
this date, July 26, 2011, by electronic and/or ordinary mail.


                                             s/Julie Owens
                                            Case Manager
                                            (313) 234-5160




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